                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

In re:                                                               Chapter 11

AMERICAN PHYSICIAN PARTNERS, LLC, et al.,1                           Case No. 23-11469 (BLS)

                                   Debtor.                           (Jointly Administered)


                              NOTICE OF WITHDRAWAL OF
                       MONTHLY OPERATING REPORT [DOCKET NO. 549]

         PLEASE TAKE NOTICE that American Physician Partners and its affiliated debtors (the

“Debtors”), hereby withdraws Monthly Operating Report [Docket No. 549].

Dated: December 5, 2023                         PACHULSKI STANG ZIEHL & JONES LLP


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1 A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
proposed claims and noticing agent at https://dm.epiq11.com/AmericanPhysicianPartners. The location of
American Physician Partners, LLC’s principal place of business and the Debtors’ service address in these
Chapter 11 Cases is 5121 Maryland Way Suite 300 Brentwood, TN 37027.




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